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05
                               UNITED STATES DISTRICT COURT
06                          WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
07   ____________________________________
                                            )
08   UNITED STATES OF AMERICA,              )    No. CR06 - 298 JCC
                          Plaintiff,        )
09    v.                                    )
                                            )
10                                          )
     YONG JUN KANG, et al,                  )
11                        Defendants.       )
         ______________________             )
12                                          )
           In re Material Witness:          )    DETENTION ORDER
13                                          )
                                            )    Material Witness
14          YUN LIU                         )
     ____________________________________)
15
     Charge: Material Witness
16
     Date of Detention Hearing:     August 25, 2006.
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. §§ 3142(f)
18
     and 3144, and based upon the factual findings and statement of reasons hereafter set forth,
19
     finds that detention is necessary to adequately secure the testimony of the material witness,
20
     and to prevent a failure of justice.
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)     Ms. Liu was arrested on a material witness warrant in a matter currently
23
     pending before the grand jury, upon a finding that she had material evidence to provide and
24
     that it was impracticable to secure her presence by subpoena. She made her initial appearance
25
     in this Court on August 25, 2006.
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (2)     The United States has moved to detain Ms. Liu pursuant to 18 U.S.C. § 3144

02 pending her appearance before the grand jury.

03         (3)     There is an immigration detainer lodged against the witness.

04         (4)     Defendant has stipulated to detention, but reserves the right to contest her

05 continued detention if there is a change in circumstances.

06         (5)     The material witness is viewed as a risk of nonappearance based on her

07 unknown background information and lack of information about any ties to this community

08 or to the Western District of Washington.

09         (6)     The Court finds that further detention is necessary to prevent a failure of

10 justice. The material witness will be detained until her testimony can adequately be secured.

11         It is therefore ORDERED:

12         (1)     The material witness shall be detained pending the taking of her testimony and

13                 committed to the custody of the Attorney General for confinement in a

14                 correction facility separate, to the extent practicable, from persons awaiting or

15                 serving sentences, or being held in custody pending appeal;

16         (2)     The material witness shall be afforded reasonable opportunity for private

17                 consultation with counsel;

18         (3)     On order of a court of the United States or on request of an attorney for the

19                 government, the person in charge of the corrections facility in which material

20                 witness is confined shall deliver the material witness to a United States

21                 Marshal for the purpose of an appearance in connection with a court

22                 proceeding or for providing testimony in connection with a case pending in

23                 this Court; and

24         (4)     The Clerk shall direct copies of this Order to counsel for the United States,

25                 counsel for the material witness, the United States Marshal, and the United

26                 States Pretrial Services Officer.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01
           DATED this 25th day of August, 2006.


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                                                  JAMES P. DONOHUE
04                                                United States Magistrate Judge
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     DETENTION ORDER                                                                  15.13
     18 U.S.C. § 3142(i)                                                           Rev. 1/91
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